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                            UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
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12     ALEXANDRIA CHAMBERS, as an                   Case No. 2:21-cv-06775 RGK-AGRx
       individual and on behalf of all others
13                                                  [Assigned to the Hon. R. Gary
       similarly situated,                          Klausner]
14
                                                    ORDER GRANTING JOINT
15                           Plaintiff,             STIPULATION TO REMAND
16           vs.                                    REMOVED ACTION TO LOS
                                                    ANGELES COUNTY SUPERIOR
17                                                  COURT
       CALIFORNIA REHABILITATION
18     INSTITUTE, LLC, a Delaware limited           Action Filed:    June 21, 2021
       liability company; CRI ES, INC., a           Date of Removal: September 3, 2021
19                                                  Trial Date:      None set
       Delaware corporation; and DOES 1
20     through 100,
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                             Defendants.
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            ORDER GRANTING JOINT STIPULATION TO REMAND REMOVED ACTION
Case 2:21-cv-06775-RGK-AGR Document 12 Filed 09/29/21 Page 2 of 2 Page ID #:125
